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                              11   Fax: (415) 636-9251
                              12   Proposed Attorneys for Debtors
                                   and Debtors in Possession
Weil, Gotshal & Manges LLP




                              13
 New York, NY 10153-0119




                              14
      767 Fifth Avenue




                                                             UNITED STATES BANKRUPTCY COURT
                              15
                                                             NORTHERN DISTRICT OF CALIFORNIA
                              16
                                                                     SAN FRANCISCO DIVISION
                              17

                              18
                                   In re:                                             Case No. 19-30088 (DM)
                              19                                                      Chapter 11
                                   PG&E CORPORATION,
                              20                                                      (Lead Case)
                                             - and -
                              21                                                      (Jointly Administered)
                                   PACIFIC GAS AND ELECTRIC
                              22   COMPANY,                                           AMENDED NOTICE OF AGENDA FOR
                                                                                      FEBRUARY 27, 2019 9:30 A.M.
                              23                                Debtors.              OMNIBUS HEARING
                              24    Affects PG&E Corporation
                                    Affects Pacific Gas and Electric Company         Date: February 27, 2019
                              25   Affects both Debtors                             Time: 9:30 a.m. (Pacific Time)
                                                                                      Place: United States Bankruptcy Court
                              26   * All papers shall be filed in the lead case,             Courtroom 17, 16th Floor
                                   No. 19-30088 (DM)                                         San Francisco, CA 94102
                              27

                              28
                                   AMENDED NOTICE OF AGENDA FOR
                                   FEBRUARY 27, 2019 OMNIBUS HEARING
                             Case: 19-30088      Doc# 668      Filed: 02/26/19     Entered: 02/26/19 14:02:46    Page 1 of
                                                                            16
                               1                            AMENDED PROPOSED AGENDA FOR
                                                         FEBRUARY 27, 2019 9:30 A.M. (PACIFIC TIME)
                               2                                  OMNIBUS HEARING
                               3
                                       I.   MATTERS SCHEDULED TO BE HEARD IN MAIN CASE: No. 19-30088 (DM)
                               4
                                           The response deadline for all matters to be heard in the main case for the following
                               5   parties was extended by stipulation and order to February 22, 2019, at 4:00 p.m. (Pacific Time):

                               6                      Official Committee of Unsecured Creditors
                                                      Official Committee of Tort Claimants
                               7
                                                      Ad Hoc Group of Institutional Bondholders
                               8                      Ad Hoc Committee of Senior Unsecured Noteholders
                                                      Office of the United States Trustee
                               9
                                   CONSENSUAL MATTERS
                              10

                              11          The following seven (7) Motions are largely uncontested (the “Consensual Motions”).
                                   Revised drafts of the proposed final orders for the Consensual Motions (the “Proposed Final
                              12   Orders”) reflecting changes that have been agreed to in order to resolve or address any formal or
                                   informal objections were filed with the Court on February 18, 2019 and February 25, 2019. 1
                              13
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                                          1.      Insurance Motion. Motion of Debtors Pursuant to 11 U.S.C. §§ 105(a), 362(d),
                              14
                                   363(b), 363(c), and 364 and Fed. Bankr. P. 4001, 6003, and 6004 for Interim and Final Orders (I)
      767 Fifth Avenue




                              15   Authorizing the Debtors to Maintain Insurance Policies, Workers’ Compensation Program, and
                                   Surety Bond Program and Pay All Obligations With Respect Thereto; and (II) Granting Relief
                              16   From the Automatic Stay with Respect to Workers’ Compensation Claims [Dkt. 9].

                              17                  Response Deadline:     February 20, 2019
                              18                  Responses Filed:      None.
                              19                  Related Documents:
                              20
                                                  A.      Proposed Final Order on the Insurance Motion and redline comparison
                              21                          against the interim order previously entered by the Court [Dkt. 491-2].

                              22                  B.      Debtors’ Statement and Omnibus Reply in Support of First Day and Other
                                                          Motions set for Hearing on February 27, 2019 [Dkt. 652].
                              23
                                                  C.      Further revised Proposed Final Order on the Insurance Motion and redline
                              24                          comparison against the interim order previously entered by the Court
                                                          [Dkt. 654-1].
                              25

                              26
                                   1
                              27    The Debtors are continuing to work with the Creditors Committee to finalize certain language to
                                   be added to the Proposed Final Orders.
                              28
                                   AMENDED NOTICE OF AGENDA FOR
                                   FEBRUARY 27, 2019 HEARING
                             Case: 19-30088     Doc# 668      Filed: 02/26/19- 2 -Entered: 02/26/19 14:02:46      Page 2 of
                                                                           16
                               1                 Status: No objections or responses were received to the Insurance Motion and
                                                 this matter is going forward on an uncontested basis.
                               2
                                           2.     Exchange Operators Motion. Motion of Debtors Pursuant to 11 U.S.C. §§ 105,
                               3   362, 363, and 364 and Fed. R. Bankr. P. 6003 and 6004 to (A) Honor Prepetition Obligations to
                               4   Natural Gas and Electricity Exchange Operators, (B) Grant Administrative Expense Claims and
                                   Authorize Posting of Postpetition Collateral to Exchange Operators, (C) Modify the Automatic
                               5   Stay, and (D) Grant Related Relief [Dkt 15].

                               6                 Response Deadline:    February 20, 2019
                               7                 Responses Filed:
                               8                 A.      Objection of Butte Fire Victim Creditors to Request for Order Authorizing
                               9                         Priority Payments of Unsecured Pre-Petition Obligations [Dkt. 178].

                              10                 B.      Reservation of Rights by BP Energy Company and BP Products North
                                                         America Inc. to the Motion of Debtors Pursuant to 11 U.S.C. §§ 105, 362,
                              11                         363, and 364 and Fed. R. Bankr. P. 6003 and 6004 to (A) Honor
                                                         Prepetition Obligations to Natural Gas and Electricity Exchange
                              12                         Operators, (B) Grant Administrative Expense Claims and Authorize
                                                         Posting of Postpetition Collateral to Exchange Operators, (C) Modify the
                              13
                                                         Automatic Stay, and (D) Grant Related Relief [Dkt. 544].
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                              14
                                                 C.      Statement and Reservation of Rights of Official Committee of Unsecured
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                              15                         Creditors with respect to Certain Matters Scheduled for February 27
                                                         Hearing [Dkt. 610].
                              16
                                                 Related Documents:
                              17
                                                 D.      Proposed Final Order on the Exchange Operators Motion and redline
                              18                         comparison against the interim order previously entered by the Court
                              19                         [Dkt. 491-3].

                              20                 E.      Debtors’ Statement and Omnibus Reply in Support of First Day and Other
                                                         Motions set for Hearing on February 27, 2019 [Dkt. 652].
                              21
                                                 F.      Further revised Proposed Final Order on the Exchange Operator Motion
                              22                         and redline comparison against the interim order previously entered by the
                                                         Court [Dkt. 654-2].
                              23

                              24                 Status: The response filed in opposition to the Exchange Operator Motion was
                                                 received prior to and heard at the hearing on January 31, 2019. No further
                              25                 objections or responses to the Exchange Operators Motion were received and this
                                                 matter is going forward on an uncontested basis.
                              26
                                          3.      Lien Claimants Motion. Motion of Debtors Pursuant to 11 U.S.C. §§ 105(a),
                              27   363(b), and 503(b) and Fed. R. Bankr. P. 6003 and 6004 (I) for Interim and Final Authority to
                                   Pay Prepetition Obligations Owed to Shippers, Warehousemen, and Other Lien Claimants, and
                              28
                                   AMENDED NOTICE OF AGENDA FOR
                                   FEBRUARY 27, 2019 HEARING
                             Case: 19-30088     Doc# 668     Filed: 02/26/19- 3 -Entered: 02/26/19 14:02:46      Page 3 of
                                                                          16
                               1   (II) Granting Administrative Expense Priority Status for Claims Arising from Goods Delivered
                                   to the Debtors Postpetition [Dkt. 13].
                               2
                                                 Response Deadline:       February 20, 2019
                               3
                                                 Responses Filed:
                               4

                               5                 A.         Roebbelen Contracting, Inc.’s Response to Certain First Day Motions
                                                            [Dkt. 154].
                               6
                                                       i.          Declaration of Frank Lindsay in Support of Roebbelen Contracting
                               7                                   Inc.’s Response [Dkt. 171].
                               8                 B.         Aggreko’s Response to Certain First Day Motions [Dkt. 155].
                               9                       i.          Declaration of Frank Pizzileo in Support of Aggreko’s Response
                              10                                   [Dkt. 161].

                              11                 C.         MCE Corporation’s Response to Certain First Day Motions [Dkt. 157].

                              12                       i.          Declaration of Jeff Core in Support of MCE Corporation’s
                                                                   Response [Dkt. 166].
                              13
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                                                 D.         Response of Nor-Cal Pipeline Services to Certain First Day Motions [Dkt.
                              14                            160].
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                              15
                                                 E.         Turner Construction Company’s Preliminary Objection and Reservation of
                              16                            Rights with Respect to Debtors’ Operational Integrity Motion, Lien
                                                            Claimants Motion, and DIP Financing Motion [Dkt. 164].
                              17
                                                 F.         Objection of Butte Fire Victim Creditors to Request for Order Authorizing
                              18                            Priority Payments of Unsecured Pre-Petition Obligations [Dkt. 178].
                              19                 G.         Wilson Utility Construction Company’s Response in Support of Motion of
                                                            Debtors Pursuant to 11 U.S.C. §§ 150(A), 363(B), 503(B)(9) and F.R.B.P.
                              20
                                                            6003 and 6004 for Interim and Final Authority to Pay Prepetition
                              21                            Obligations Owed to Certain Safety and Reliability, Outage, and Nuclear
                                                            Facility Suppliers (ECF No. 12); and the Motion of the Debtors Pursuant
                              22                            to 11 U.S.C. §§ 150(A), 363(B), 503(B)(9) and F.R.B.P. 6003 and 6004
                                                            (I) For Interim and Final Authority to Pay Prepetition Obligations Owed to
                              23                            Shippers, Warehousemen, and Other Lien Claimants, and (II) Granting
                              24                            Administrative Expense Priority Status for Claims Arising from Goods
                                                            Delivered to Debtors’ Postpetition (ECF No. 13) [Dkt. 496].
                              25
                                                 H.         Statement and Reservation of Rights of Official Committee of Unsecured
                              26                            Creditors with respect to Certain Matters Scheduled for February 27
                                                            Hearing [Dkt. 610].
                              27

                              28
                                   AMENDED NOTICE OF AGENDA FOR
                                   FEBRUARY 27, 2019 HEARING
                             Case: 19-30088    Doc# 668         Filed: 02/26/19- 4 -Entered: 02/26/19 14:02:46     Page 4 of
                                                                             16
                               1                 Related Documents:
                               2                 I.     Proposed Final Order on the Lien Claimants Motion and redline
                                                        comparison against the interim order previously entered by the Court
                               3                        [Dkt. 491-5].
                               4
                                                 J.     Debtors’ Statement and Omnibus Reply in Support of First Day and Other
                               5                        Motions set for Hearing on February 27, 2019 [Dkt. 652].

                               6                 K.     Further revised Proposed Final Order on the Lien Claimants Motion and
                                                        redline comparison against the interim order previously entered by the
                               7                        Court [Dkt. 654-3].
                               8                 Status: The responses filed in opposition to the Lien Claimants Motion were
                               9                 received prior to and heard at the hearing on January 31, 2019. No further
                                                 objections or responses to the Lien Claimants Motion were received and this
                              10                 matter is going forward on an uncontested basis.

                              11           4.     Taxes Motion. Motion of Debtors Pursuant to 11 U.S.C. §§ 105, 363, 507(a),
                                   and 541(d) and Fed. R. Bankr. P. 6003 and 6004 for Interim and Final Authority to Pay Certain
                              12   Prepetition Taxes and Assessments and Granting Related Relief [Dkt. 11].
                              13                 Response Deadline:    February 20, 2019
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                              14
                                                 Responses Filed:
      767 Fifth Avenue




                              15
                                                 A.     Statement and Reservation of Rights of Official Committee of Unsecured
                              16                        Creditors with respect to Certain Matters Scheduled for February 27
                                                        Hearing [Dkt. 610].
                              17
                                                 Related Documents:
                              18
                                                 B.     Proposed Final Order on the Taxes Motion and redline comparison against
                              19                        the interim order previously entered by the Court [Dkt. 491-6].
                              20
                                                 C.     Debtors’ Statement and Omnibus Reply in Support of First Day and Other
                              21                        Motions set for Hearing on February 27, 2019 [Dkt. 652].

                              22                 D.     Further revised Proposed Final Order on the Taxes Motion and redline
                                                        comparison against the interim order previously entered by the Court
                              23                        [Dkt. 654-4].
                              24                 Status: No objections or responses were received to the Taxes Motion and this
                              25                 matter is going forward on an uncontested basis.

                              26          5.      Reclamation Procedures Motion. Motion of Debtors for Entry of Order
                                   Pursuant to 11 U.S.C. §§ 546(c) and 105(a) and Fed. R. Bankr. P. 9019 Establishing and
                              27

                              28
                                   AMENDED NOTICE OF AGENDA FOR
                                   FEBRUARY 27, 2019 HEARING
                             Case: 19-30088    Doc# 668      Filed: 02/26/19- 5 -Entered: 02/26/19 14:02:46     Page 5 of
                                                                          16
                               1   Implementing Exclusive and Global Procedures for the Treatment of Reclamation Claims [Dkt.
                                   30].
                               2
                                                 Response Deadline:   February 20, 2019
                               3
                                                 Responses Filed:
                               4

                               5                 A.     Statement and Reservation of Rights of Official Committee of Unsecured
                                                        Creditors with respect to Certain Matters Scheduled for February 27
                               6                        Hearing [Dkt. 610].

                               7                 Related Documents:
                               8                 B.     Debtors’ Statement and Omnibus Reply in Support of First Day and Other
                                                        Motions set for Hearing on February 27, 2019 [Dkt. 652].
                               9

                              10                 C.     Revised Proposed Order on the Reclamation Procedures Motion and
                                                        redline comparison against the proposed order previously filed with the
                              11                        Reclamation Procedures Motion [Dkt. 654-7].

                              12                 Status: No objections or responses were received to the Reclamation Prcoedures
                                                 Motion and this matter is going forward on an uncontested basis.
                              13
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                                          6.     Section 503(b)(9) Procedures Motion. Motion of Debtors Pursuant to 11 U.S.C.
                              14   §§ 503(b)(9) and 105(a) for Entry of an Order Establishing Procedures for the Assertion,
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                              15   Resolution, and Satisfaction of Claims Asserted Pursuant to 11 U.S.C. § 503(b)(9) [Dkt. 31].

                              16                 Response Deadline:   February 20, 2019

                              17                 Responses Filed:

                              18                 A.     Statement and Reservation of Rights of Official Committee of Unsecured
                                                        Creditors with respect to Certain Matters Scheduled for February 27
                              19                        Hearing [Dkt. 610].
                              20                 Related Documents:
                              21
                                                 B.     Debtors’ Statement and Omnibus Reply in Support of First Day and Other
                              22                        Motions set for Hearing on February 27, 2019 [Dkt. 652].

                              23                 C.     Revised Proposed Order on the 503(b)(9) Procedures Motion and redline
                                                        comparison against the proposed order previously filed with the 503(b)(9)
                              24                        Procedures Motion [Dkt. 654-8].
                              25                 Status: No objections or responses to the 503(b)(9) Procedures Motion were
                              26                 received and this matter is going forward on an uncontested basis.

                              27

                              28
                                   AMENDED NOTICE OF AGENDA FOR
                                   FEBRUARY 27, 2019 HEARING
                             Case: 19-30088    Doc# 668     Filed: 02/26/19- 6 -Entered: 02/26/19 14:02:46      Page 6 of
                                                                         16
                               1          7.     Interim Compensation Procedures Motion. Motion of Debtors Pursuant to 11
                                   U.S.C. §§ 331 and 105(a) and Fed. R. Bankr. P. 2016 for Authority to Establish Procedures for
                               2   Interim Compensation and Reimbursement of Expenses of Professionals [Dkt. 349].
                               3                 Response Deadline:       February 20, 2019
                               4
                                                 Responses Filed:
                               5
                                                 A.         Statement and Reservation of Rights of Official Committee of Unsecured
                               6                            Creditors with respect to Certain Matters Scheduled for February 27
                                                            Hearing [Dkt. 610].
                               7
                                                 Related Documents:
                               8
                                                 B.         Debtors’ Statement and Omnibus Reply in Support of First Day and Other
                               9
                                                            Motions set for Hearing on February 27, 2019 [Dkt. 652].
                              10
                                                 C.         Revised Proposed Order on the Interim Compensation Procedures Motion
                              11                            and redline comparison against the proposed order previously filed with
                                                            the Interim Compensation Procedures Motion [Dkt. 654-11].
                              12
                                                 Status: No objections or responses were received to the Interim Compensation
                              13                 Procedures Motion and this matter is going forward on an uncontested basis.
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                              14   MATTERS CONTINUED TO MARCH 12, 2019 OMNIBUS HEARING
      767 Fifth Avenue




                              15
                                          8.       DIP Financing Motion. Motion of Debtors Pursuant to 11 U.S.C. §§ 105, 362,
                              16   363, 364, 503 and 507 and Fed. R. Bankr. P. 2002, 4001, 6003, 6004 and 9014 for Interim and
                                   Final Orders (I) Authorizing the Debtors to Obtain Senior Secured, Superpriority, Postpetition
                              17   Financing, (II) Granting Liens and Superpriority Claims, (III) Modifying the Automatic Stay,
                                   (IV) Scheduling Final Hearing, and (V) Granting Related Relief [Dkt. 23].
                              18
                                                 Response Deadline:       February 20, 2019
                              19

                              20                 Responses Filed:

                              21                 A.         Sonoma Clean Power Authority’s Statement of Support for Debtors’
                                                            Motion for Postpetition Financing and Reservation of Rights [Dkt. 65].
                              22
                                                       i.          Declaration of Geoffrey G. Syphers in Support of Sonoma Clean
                              23                                   Power Authority’s Statement [Dkt. 67].
                              24                 B.         Statement of Peninsula Clean Energy Authority (A) In Support of
                              25                            Debtors’ Motion for Postpetition Financing and (B) Reservation of Rights
                                                            [Dkt. 149].
                              26
                                                 C.         Preliminary Objection of California State Agencies to DIP Financing
                              27                            Motion [Docket No. 23] [Dkt. 162].

                              28
                                   AMENDED NOTICE OF AGENDA FOR
                                   FEBRUARY 27, 2019 HEARING
                             Case: 19-30088     Doc# 668        Filed: 02/26/19- 7 -Entered: 02/26/19 14:02:46     Page 7 of
                                                                             16
                               1                 D.     Objection of the United States Trustee to Debtors’ Motion for Interim and
                                                        Final Orders Authorizing Debtor in Possession Financing [Dkt. 168].
                               2
                                                 E.     Statement and Reservation of Rights of the California Self-Insurers’
                               3                        Security Fund Regarding the DIP Motion and Entry of the Proposed
                               4                        Interim DIP Order [Dkt. 172].

                               5                 F.     Objection of the Public Entities to Motion of Debtors Pursuant to 11
                                                        U.S.C. §§ 105, 362, 363, 364, 503 and 507, and Fed.R. Bankr. P. 2002,
                               6                        4001, 6003, 6004 and 9014 for Interim and Final Orders (I) Authorizing
                                                        the Debtors to Obtain Senior Secured, Superpriority, Postpetition
                               7                        Financing, (II) Granting Liens and Superpriority Claims, (III) Modifying
                               8                        the Automatic Stay, (IV) Scheduling Final Hearing and (V) Granting
                                                        Related Relief [Dkt. 494].
                               9
                                                 G.     Joinder by the SLF Fire Victim Claimants in Objection of the Public
                              10                        Entities to Motion of Debtors Pursuant to 11 U.S.C. §§ 105, 362, 363, 364,
                                                        503 and 507, and Fed.R. Bankr. P. 2002, 4001, 6003, 6004 and 9014 for
                              11                        Interim and Final Orders (I) Authorizing the Debtors to Obtain Senior
                                                        Secured, Superpriority, Postpetition Financing, (II) Granting Liens and
                              12
                                                        Superpriority Claims, (III) Modifying the Automatic Stay, (IV)
                              13                        Scheduling Final Hearing and (V) Granting Related Relief [Dkt. 519].
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                              14                 H.     Statement and Reservation of Rights of the California Self-Insurers’
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                                                        Security Fund Regarding the DIP Motion and Entry of the Proposed Final
                              15                        DIP Order [Dkt. 576].
                              16                 I.     Statement and Reservation of Rights of Official Committee of Unsecured
                                                        Creditors with respect to Certain Matters Scheduled for February 27
                              17
                                                        Hearing [Dkt. 610].
                              18
                                                 Related Documents: None.
                              19
                                                 Status: This matter has been continued to the omnibus hearing to be held on
                              20                 March 12, 2019, at 9:30 a.m. (Pacific Time), unless otherwise ordered by the
                                                 Court. The deadline for the Creditors Committee and Tort Claimants Committee
                              21                 to file objections, if any, with respect to this Motion is March 5, 2019, at 4:00
                              22                 p.m. (Pacific Time), unless otherwise ordered by the Court. All other timely filed
                                                 objections to approval of the Motion on a final basis shall be preserved for the
                              23                 March 12 hearing. Any further reply from the Debtors is due no later than March
                                                 11, 2019, at 12:30 p.m. (Pacific Time), unless otherwise ordered by the Court.
                              24
                                          9.      Customer Programs Motion. Motion of Debtors Pursuant to 11 U.S.C.
                              25   §§ 105(a), 363(b), and 507(a)(7) and Fed. R. Bankr. P. 6003 and 6004 for Interim and Final
                                   Orders (I) Authorizing Debtors to (A) Maintain and Administer Customer Programs, Including
                              26
                                   Public Purpose Programs, and (B) Honor Any Prepetition Obligations Relating Thereto; and (II)
                              27   Authorizing Financial Institutions to Honor and Process Related Checks and Transfers [Dkt. 16].

                              28
                                   AMENDED NOTICE OF AGENDA FOR
                                   FEBRUARY 27, 2019 HEARING
                             Case: 19-30088    Doc# 668      Filed: 02/26/19- 8 -Entered: 02/26/19 14:02:46      Page 8 of
                                                                          16
                               1                Response Deadline:       February 20, 2019
                               2                Responses Filed:
                               3                A.         Sonoma Clean Power Authority’s Statement of Support for Debtors’
                                                           Public Programs Motion and Reservation of Rights [Dkt. 66].
                               4

                               5                      i.          Declaration of Geoffrey G. Syphers in Support of Sonoma Clean
                                                                  Power Authority’s Statement [Dkt. 67].
                               6
                                                B.         Chargepoint, Inc’s Conditional Non-Opposition to Motion of Debtors
                               7                           Pursuant to 11 U.S.C. §§ 105(a), 363(b), and 507(a)(7) and Fed. R. Bankr.
                                                           P. 6003 and 6004 for Interim and Final Orders (I) Authorizing Debtors to
                               8                           (A) Maintain and Administer Customer Programs, Including Public
                               9                           Purpose Programs, and (B) Honor any Prepetition Obligations Relating
                                                           Thereto; and (II) Authorizing Financial Institutions to Honor and Process
                              10                           Related Checks and Transfers [Dkt. 147].

                              11                C.         Statement of Marin Clean Energy in Support of Motion of Debtors
                                                           Pursuant to 11 U.S.C. §§ 105(a), 363(b), and 507(a)(7) and Fed. R. Bankr.
                              12                           P. 6003 and 6004 for Interim and Final Orders (I) Authorizing Debtors to
                                                           (A) Maintain and Administer Customer Programs, Including Public
                              13
                                                           Purpose Programs, and (B) Honor any Prepetition Obligations Relating
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                              14                           Thereto; and (II) Authorizing Financial Institutions to Honor and Process
                                                           Related Checks and Transfers; Reservation of Rights [Dkt. 156].
      767 Fifth Avenue




                              15
                                                D.         Preliminary Objection of California State Agencies to Customer Programs
                              16                           Motion [Dkt. 158].
                              17                E.         Reservation of Rights of Berry Petroleum Company with Respect to
                                                           Debtors’ Customer Programs Motion [Dkt. 170].
                              18

                              19                F.         Supplemental Statement and Reservation of Rights of California State
                                                           Agencies Regarding Customer Programs Motion [Dkt. 500].
                              20
                                                G.         Limited Objection by Homeowners of Contaminated Properties to
                              21                           Customer Programs Motion [Dkt. 527].
                              22                H.         Statement and Reservation of Rights of Official Committee of Unsecured
                                                           Creditors with respect to Certain Matters Scheduled for February 27
                              23
                                                           Hearing [Dkt. 610].
                              24
                                                Related Documents:
                              25
                                                I.         Proposed Final Order on the Customer Programs Motion and redline
                              26                           comparison against the interim order previously entered by the Court
                                                           [Dkt. 491-7].
                              27

                              28
                                   AMENDED NOTICE OF AGENDA FOR
                                   FEBRUARY 27, 2019 HEARING
                             Case: 19-30088    Doc# 668        Filed: 02/26/19- 9 -Entered: 02/26/19 14:02:46     Page 9 of
                                                                            16
                                1                 J.         Debtors’ Statement and Omnibus Reply in Support of First Day and Other
                                                             Motions set for Hearing on February 27, 2019 [Dkt. 652].
                                2
                                                  Status: This matter has been continued to the omnibus hearing to be held on
                                3                 March 12, 2019, at 9:30 a.m. (Pacific Time), unless otherwise ordered by the
                                4                 Court. The deadline for the Creditors Committee and Tort Claimants Committee
                                                  to file objections, if any, with respect to this Motion is March 5, 2019, at 4:00
                                5                 p.m. (Pacific Time), unless otherwise ordered by the Court. All other timely filed
                                                  objections to approval of the Motion on a final basis shall be preserved for the
                                6                 March 12 hearing. Any further reply from the Debtors is due no later than March
                                                  11, 2019, at 12:30 p.m. (Pacific Time), unless otherwise ordered by the Court.
                                7

                                8           10.   Cash Management Motion. Motion of Debtors Pursuant to 11 U.S.C. §§ 105(a),
                                    363(b), and 507 and Fed. R. Bankr. P. 6003 and 6004 for Interim and Final Authority to (I)(A)
                                9   Continue Existing Cash Management System, (B) Honor Certain Prepetition Obligations Related
                                    to the Use Thereof, (C) Continue Intercompany Arrangements, (D) Continue to Honor
                               10   Obligations Related to Joint Infrastructure Projects, and (E) Maintain Existing Bank Accounts
                                    and Business Forms; and (II) Waiving the Requirements of 11 U.S.C. § 345(b) [Dkt. 7].
                               11
                                                  Response Deadline:       February 20, 2019
                               12

                               13                 Responses Filed:
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 New York, NY 10153-0119




                               14                 A.         United States Trustee’s Omnibus Objection to Debtors’ First Day Motions
                                                             [Dkt. 173].
      767 Fifth Avenue




                               15
                                                  B.         United States Trustee’s Supplemental Objection to Motion of the Debtors
                               16                            to Continue Their Existing Cash Management System and for Other Relief
                                                             [Dkt. 606].
                               17
                                                        i.          Declaration of Michael Sorgaard in Support of United States
                               18
                                                                    Trustee’s Objection [Dkt. 608].
                               19
                                                  C.         Statement and Reservation of Rights of Official Committee of Unsecured
                               20                            Creditors with respect to Certain Matters Scheduled for February 27
                                                             Hearing [Dkt. 610].
                               21
                                                  Related Documents:
                               22

                               23                 D.         Proposed Final Order on the Cash Management Motion and redline
                                                             comparison against the interim order previously entered by the Court
                               24                            [Dkt. 491-1].

                               25                 Status: This matter has been continued to the omnibus hearing to be held on
                                                  March 12, 2019, at 9:30 a.m. (Pacific Time), unless otherwise ordered by the
                               26                 Court. The deadline for the Creditors Committee and Tort Claimants Committee
                                                  to file objections, if any, with respect to this Motion is March 5, 2019, at 4:00
                               27
                                                  p.m. (Pacific Time), unless otherwise ordered by the Court. All other timely filed
                               28                 objections to approval of the Motion on a final basis shall be preserved for the

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                                1                 March 12 hearing. Any further reply from the Debtors is due no later than March
                                                  11, 2019, at 12:30 p.m. (Pacific Time), unless otherwise ordered by the Court.
                                2
                                           11.     Operational Integrity Suppliers Motion. Motion of Debtors Pursuant to 11
                                3
                                    U.S.C. §§ 105(a), 363(b), and 503(b)(9) and Fed. R. Bankr. P. 6003 and 6004 for Interim and
                                4   Final Authority to Pay Prepetition Obligations Owed to Certain Safety and Reliability, Outage,
                                    and Nuclear Facility Suppliers [Dkt. 12]
                                5
                                                  Response Deadline:     February 20, 2019
                                6
                                                  Responses Filed:
                                7
                                                  A.      Wilson Utility Construction Company’s Response in Support of Motion of
                                8
                                                          Debtors Pursuant to 11 U.S.C. §§ 150(A), 363(B), 503(B)(9) and F.R.B.P.
                                9                         6003 and 6004 for Interim and Final Authority to Pay Prepetition
                                                          Obligations Owed to Certain Safety and Reliability, Outage, and Nuclear
                               10                         Facility Suppliers (ECF No. 12); and the Motion of the Debtors Pursuant
                                                          to 11 U.S.C. §§ 150(A), 363(B), 503(B)(9) and F.R.B.P. 6003 and 6004
                               11                         (I) For Interim and Final Authority to Pay Prepetition Obligations Owed to
                                                          Shippers, Warehousemen, and Other Lien Claimants, and (II) Granting
                               12
                                                          Administrative Expense Priority Status for Claims Arising from Goods
                               13                         Delivered to Debtors’ Postpetition (ECF No. 13) [Dkt. 496].
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                               14                 B.      Objection of Creditor AA/ACME Locksmiths, Inc. to Final Order
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                                                          Granting Operational Integrity Supplier Motion [Dkt. 506].
                               15
                                                  C.      Refiled Conditional Objection of Holt of California to Motion of Debtors
                               16                         Pursuant to 11 U.S.C. §§ 105(a), 363(b), and 503(b)(9) and Fed. R. Bankr.
                                                          P. 6003 and 6004 for Interim and Final Authority to Pay Prepetition
                               17
                                                          Obligations Owed to Certain Safety and Reliability, Outage, and Nuclear
                               18                         Facility Suppliers [Dkt. 508].

                               19                 D.      Statement and Reservation of Rights of Official Committee of Unsecured
                                                          Creditors with respect to Certain Matters Scheduled for February 27
                               20                         Hearing [Dkt. 610].
                               21                 E.      Withdrawal Without Prejudice of Refiled Conditional Objection of Holt of
                               22                         California to Motion of Debtors Pursuant to 11 U.S.C. §§ 105(a), 363(b),
                                                          and 503(b)(9) and Fed. R. Bankr. P. 6003 and 6004 for Interim and Final
                               23                         Authority to Pay Prepetition Obligations Owed to Certain Safety and
                                                          Reliability, Outage, and Nuclear Facility Suppliers [Dkt. 658].
                               24
                                                  Related Documents:
                               25
                                                  F.      Debtors’ Statement and Omnibus Reply in Support of First Day and Other
                               26                         Motions set for Hearing on February 27, 2019 [Dkt. 652].
                               27
                                                  G.      Declaration of John Boken in Further Support of First Day Motions and
                               28                         Related Relief [Dkt. 653].

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                                1                 H.     Proposed second interim order on the Operational Integrity Suppliers
                                                         Motion and redline comparison against the interim order previously
                                2                        approved by the Court with respect to the Operational Integrity Suppliers
                                                         Motion [Dkt. 654-13] (“Operational Integrity Suppliers Second
                                3
                                                         Interim Order”).
                                4
                                                  Status: This matter is going forward solely with respect to the Debtors’ request
                                5                 for further interim relief as reflected in the Operational Integrity Suppliers Second
                                                  Interim Order. In all other respects, this matter has been continued to the omnibus
                                6                 hearing to be held on March 12, 2019, at 9:30 a.m. (Pacific Time), unless
                                                  otherwise ordered by the Court. The deadline for the Creditors Committee and
                                7
                                                  Tort Claimants Committee to file objections, if any, with respect to this Motion is
                                8                 March 5, 2019, at 4:00 p.m. (Pacific Time), unless otherwise ordered by the
                                                  Court. All other timely filed objections to approval of the Motion on a final basis
                                9                 shall be preserved for the March 12 hearing. Any further reply from the Debtors
                                                  is due no later than March 11, 2019, at 12:30 p.m. (Pacific Time), unless
                               10                 otherwise ordered by the Court.
                               11   CONTESTED MATTERS GOING FORWARD
                               12
                                           12.      Employee Wages and Benefits Motion. Motion of Debtors Pursuant to 11
                               13   U.S.C. §§ 105(a), 363(b), and 507 and Fed. R. Bankr. P. 6003 and 6004 for Interim and Final
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                                    Authority to (I) Pay Prepetition Wages, Salaries, Withholding Obligations, and Other
 New York, NY 10153-0119




                               14   Compensation and Benefits; (II) Maintain Employee Benefits Programs; and (III) Pay Related
      767 Fifth Avenue




                                    Administrative Obligations [Dkt. 8].
                               15
                                                  Response Deadline:     February 20, 2019
                               16

                               17                 Responses Filed:

                               18                 A.     ESC Local 20’s Response to Debtors’ Motion to Pay Prepetition
                                                         Employee Obligations and Continue Wages and Benefits [Dkt. 501].
                               19
                                                         i.      Declaration of Joshua Sperry in support of ESC Local 20’s
                               20                                Response [Dkt. 503].
                               21                 B.     Opposition of Certain Fire Damage Plaintiffs/Claimants Relating to the
                               22                        North Bay Fire Litigation of October 2017 and the Camp Fire Litigation to
                                                         Motion of Debtors Pursuant to 11 U.S.C. §§ 105(a), 363(b), and 507 and
                               23                        Fed. R. Bankr. P. 6003 and 6004 for Interim and Final Authority to (I) Pay
                                                         Prepetition Wages, Salaries, Withholding Obligations, and Other
                               24                        Compensation and Benefits; (II) Maintain Employee Benefits Programs;
                                                         and (III) Pay Related Administrative Obligations [Dkt. 517].
                               25
                                                  C.     Statement and Reservation of Rights of Official Committee of Unsecured
                               26
                                                         Creditors with respect to Certain Matters Scheduled for February 27
                               27                        Hearing [Dkt. 610].

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                                                                           16
                                1                 D.     ESC Local 20’s Sur-Reply to Debtors’ Motion to Pay Prepetition
                                                         Employee Obligations and Continue Wages and Benefits [Dkt. 646].
                                2
                                                  Related Documents:
                                3
                                                  E.     Proposed Final Order on the Employee Wages and Benefits Motion and
                                4
                                                         redline comparison against the interim order previously entered by the
                                5                        Court [Dkt. 491-8].

                                6                 F.     Debtors’ Statement and Omnibus Reply in Support of First Day and Other
                                                         Motions set for Hearing on February 27, 2019 [Dkt. 652].
                                7
                                                  G.     Further revised Proposed Final Order on the Employee Wages and
                                8                        Benefits Motion and redline comparison against the interim order
                                9                        previously entered by the Court [Dkt. 654-5].

                               10          Status: This matter is going forward.

                               11          13.     NOL Motion. Motion of Debtors Pursuant to 11 U.S.C. §§ 105(A) and 362 for
                                    Interim and Final Orders Establishing Notification Procedures and Approving Restrictions on
                               12   Certain Transfers of Stock of, and Claims Against, the Debtors [Dkt. 10].
                               13                 Response Deadline:    February 20, 2019
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                               14                 Responses Filed:
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                               15
                                                  A.     Limited Objection of the Official Committee of Unsecured Creditors to
                               16                        Motion of Debtors Pursuant to 11 U.S.C. §§ 105(a) and 362 for Interim
                                                         and Final Orders Establishing Notification Procedures and Approving
                               17                        Restrictions on Certain Transfers of Stock of, and Claims Against, the
                                                         Debtors [Dkt. 605].
                               18
                                                  B.     Corrected Limited Objection of the Official Committee of Unsecured
                               19                        Creditors to Motion of Debtors Pursuant to 11 U.S.C. §§ 105(a) and 362
                               20                        for Interim and Final Orders Establishing Notification Procedures and
                                                         Approving Restrictions on Certain Transfers of Stock of, and Claims
                               21                        Against, the Debtors [Dkt. 613].

                               22                 C.     Joinder of BOKF, NA as Indenture Trustee to Limited Objection of the
                                                         Official Committee of Unsecured Creditors to Motion of Debtors Pursuant
                               23                        to 11 U.S.C. §§ 105(a) and 362 for Interim and Final Orders Establishing
                               24                        Notification Procedures and Approving Restrictions on Certain Transfers
                                                         of Stock of, and Claims Against, the Debtors [Dkt. 614].
                               25
                                                  D.     Joinder of the Ad Hoc Committee of Senior Unsecured Noteholders to
                               26                        Limited Objection of the Official Committee of Unsecured Creditors to
                                                         Motion of Debtors Pursuant to 11 U.S.C. §§ 105(a) and 362 for Interim
                               27                        and Final Orders Establishing Notification Procedures and Approving
                               28
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                                1                         Restrictions on Certain Transfers of Stock of, and Claims Against, the
                                                          Debtors [Dkt. 616].
                                2
                                                   Related Documents:
                                3
                                                   E.     Proposed Final Order on the NOL Motion and redline comparison against
                                4
                                                          the interim order previously entered by the Court [Dkt. 491-9].
                                5
                                                   F.     Reply of Debtors to Limited Objection of Unsecured Creditors Committee
                                6                         and Successor Indenture Trustee to Motion for Orders Establishing
                                                          Notification Procedures and Approving Restrictions on Certain Transfers
                                7                         of Stock of, and Claims against, the Debtors [Dkt. 650].
                                8                  G.     Further revised Proposed Final Order on the NOL Motion and redline
                                9                         comparison against the proposed final order previously filed with the NOL
                                                          Motion [Dkt. 654-6].
                               10
                                                   Status: This matter is going forward.
                               11
                                           14.    Utilities Motion. Motion of Debtors Pursuant to 11 U.S.C. §§ 366 and 105
                               12   Requesting Entry of an Order (I) Approving Debtors’ Proposed Form of Adequate Assurance for
                                    Payment of Utility Providers, (II) Establishing Procedures Providing Adequate Assurance and
                               13   Resolving Objections of Utility Providers, and (III) Prohibiting Utility Providers from Altering,
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                               14   Refusing, or Discontinuing Service [Dkt. 32].
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                               15                  Response Deadline:    February 20, 2019

                               16                  Responses Filed:

                               17                  A.     Objection of U.S. Telepacific Corp. dba TPX Communications to Debtor’s
                                                          [sic] Motion to Provide Adequate Assurance to Utility Providers [Dkt.
                               18                         32]; Demand for Adequate Protection [Dkt. 499].
                               19                  B.     Statement and Reservation of Rights of Official Committee of Unsecured
                               20                         Creditors with respect to Certain Matters Scheduled for February 27
                                                          Hearing [Dkt. 610].
                               21
                                                   Related Documents:
                               22
                                                   C.     Debtors’ Statement and Omnibus Reply in Support of First Day and Other
                               23                         Motions set for Hearing on February 27, 2019 [Dkt. 652].
                               24                  D.     Further revised Proposed Order on the Utilities Motion and redline
                               25                         comparison against the proposed order previously filed with the Utilities
                                                          Motion [Dkt. 654-9].
                               26
                                                   Status: The Debtors are in discussions with U.S. Telepacific regarding a potential
                               27                  resolution of their Objection prior to the Hearing. This matter is going forward.

                               28
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                                1          15.     Case Management Motion. Motion of Debtors for Entry of Order Implementing
                                    Certain Notice and Case Management Procedures [Dkt. 352].
                                2
                                                  Response Deadline:    February 20, 2019
                                3
                                                  Responses Filed:
                                4

                                5                 A.     United States Trustee’s Limited Objection to Motion of Debtors for Entry
                                                         of Order Implementing Certain Notice and Case Management Procedures
                                6                        [Dkt. 604].

                                7                 B.     Statement and Reservation of Rights of Official Committee of Unsecured
                                                         Creditors with respect to Certain Matters Scheduled for February 27
                                8                        Hearing [Dkt. 610].
                                9
                                                  Related Documents:
                               10
                                                  C.     Debtors’ Statement and Omnibus Reply in Support of First Day and Other
                               11                        Motions set for Hearing on February 27, 2019 [Dkt. 652].

                               12                 D.     Further revised Proposed Order on the Case Management Motion and
                                                         redline comparison against the proposed order previously filed with the
                               13                        Case Management Motion [Dkt. 654-10].
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                               14                 Status: The Debtors have been in discussions with the U.S. Trustee to narrow the
      767 Fifth Avenue




                               15                 issues before the Court at the Hearing. This matter is going forward.

                               16          16.    Ordinary Course Professionals Motion. Motion of Debtors Pursuant to 11
                                    U.S.C. §§ 105(a), 327, 328, and 330 for Authority to Employ Professionals Used in the Ordinary
                               17   Course of Business Nunc Pro Tunc to the Petition Date [Dkt. 350]
                               18                 Response Deadline:    February 20, 2019
                               19                 Responses Filed:
                               20                 A.     United States Trustee’s Limited Objection to Motion of Debtors Pursuant
                               21                        to 11 U.S.C. §§ 105(a), 327, 328, and 330 for Authority to Employ
                                                         Professionals Used in the Ordinary Course of Business Nunc Pro Tunc to
                               22                        the Petition Date [Dkt. 602].

                               23                 B.     Statement and Reservation of Rights of Official Committee of Unsecured
                                                         Creditors with respect to Certain Matters Scheduled for February 27
                               24                        Hearing [Dkt. 610].
                               25
                                                  Related Documents:
                               26
                                                  C.     Debtors’ Statement and Omnibus Reply in Support of First Day and Other
                               27                        Motions set for Hearing on February 27, 2019 [Dkt. 652].

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                                1                  D.     Further revised Proposed Order on the Ordinary Course Professionals
                                                          Motion and redline comparison against the proposed order previously filed
                                2                         with the Ordinary Course Professionals Motion [Dkt. 654-12].
                                3                  Status: The Debtors are in discussions regarding the U.S. Trustee’s objections to
                                4                  this Motion and hope to resolve any issues prior to the Hearing. This matter is
                                                   going forward.
                                5
                                            PLEASE TAKE NOTICE that copies of any papers filed with the court and referenced
                                6   herein can be viewed and/or obtained: (i) by accessing the Court’s website at
                                    http://www.canb.uscourts.gov, (ii) by contacting the Office of the Clerk of the Court at 450
                                7   Golden Gate Avenue, San Francisco, CA 94102, or (iii) from the Debtors’ notice and claims
                                8   agent, Prime Clerk LLC, at https://restructuring.primeclerk.com/pge or by calling (844) 339-
                                    4217 (toll free) for U.S.-based parties; or +1 (929) 333-8977 for International parties or by e-
                                9   mail at:pgeinfo@primeclerk.com. Note that a PACER password is needed to access documents
                                    on the Bankruptcy Court’s website.
                               10

                               11   Dated: February 26, 2019                          WEIL, GOTSHAL & MANGES LLP

                               12                                                     KELLER & BENVENUTTI LLP

                               13                                                     By: /s/ Jane Kim
Weil, Gotshal & Manges LLP

 New York, NY 10153-0119




                                                                                                Jane Kim
                               14
      767 Fifth Avenue




                                                                                      Proposed Attorneys for Debtors and
                               15                                                     Debtors in Possession
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